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                          IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ILLINOIS. EASTERN DIVISION

UNITED STATES OF AMERICA. STATE OF
ILLINOIS, STATE OF ILLINOIS
DEPARTM ENT OF TRANSPORTATION.
and CITY OF CHICAGO ex rel.

ANGELO MILAZZO.                                Filed Under Seal and In Camera

     Plaintiff-Relator"

        V.                                     Jury Trial Demanded

JOEL KENNEDY CONSTRUCTING
CORPORATION" MARTINEZ                          Hon. Judge Ruben Castillo
UNDERGROUND, INC., BARRERA
CONSTRUCTION, INC., JLA & SONS
CONSTRUCTION COMPANY, E. KING                  Case   No. 17-cv-3062
CONSTRUCTION CO., INC., ORIENT
EXPRESS SERVICE COMPANY, INC.,
MIDWEST REM ENTERPRISES, INC.,
CHICAGOLAND TRUCKIN INC., and
MENINI CARTAGE. INC..


     Defendants.

                                (CORRECTED) COMPLAINT

      NOW COMES the UNITED STATES OF AMERICA, STATE OF ILLINoIS" STATE

OF ILLINOIS DEPARTMENT OF TRANSPORTATION. and the CITY OF CHICAGO. ex ret.

ANGELo MlLAZ7,o, by and through their undersigned attorneys, Loevy & Loevy.   and

complaining of Defendants JoEL KENNEDy CoNSTRUCTING CoRp.. MARTINEZ

UNDERGROUND. INC.. BARRERA CONSTRUCTION. INC., JLA & SONS

CONSTRUCTION COMPANY, E. KING CONSTRUCTION CO., INC., ORIENT EXPRESS

SERVICE COMPANY, INC., MIDWEST REM ENTERPRISES, INC., CHICAGOLAND

TRUCKIN INC., and MENINI CARTAGE, INC., states     as   follows:
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                                                  Background

        l.           This action seeks damages and civil penalties arising from violations of the

federal False Claims Act,       3l   U.S.C. $$ 3729, et seq.,the Illinois False Claims Act, 740

ILCS   I 7511, et seq., and the      chicago False claims ordinance, MCC S l-22-0     10, et seq.


        2'           Defendants engaged in multiple frauds related to six contracts with the

City of Chicago (three related to water projects and three related to sewer projects) and

one contract with the Illinois Department of Transportation.


        3.       In order to procure hundreds of millions of dollars' worth of contracts with

the City of Chicago, JKCC violated the requirement that 50% of all labor on the contracts

be performed by Chicago residents by falsely certifying to the City that JKCC was using

the requisite amount of City residents when, in fact, the majority of the employees were

not Chicago residents.


       4.        JKCC also engaged in numerous schemes utilizing Minority Business

Enterprises ("MBEs"), companies that are owned and run by individuals of minority

backgrounds, and Women Business Enterprises ("WBEs"), companies that are owned and

run by women, to secure contracts with Chicago, and fraudulently utilized Disadvantaged

Business Enterprises ("DBEs"), companies owned by a member of an economically or

socially disadvantaged group, to secure contracts with the Illinois Department of

Transportation. Namely, JKCC claimed to allocate a certain amount of contract dollars to

the MBEs, wBEs, and DBEs when in reality the MBEs, wBEs, and DBEs functioned

            oopass
merely as            through" companies to mask the fact that the work was being performed

by JKCC and the monies paid by the city on the contract were being funneled to JKCC.
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        5.      Additionally, JKCC engaged in scams involving biiling the city for

trucking services performed by companies that were not certified to do such work, which

allowed JKCC to illegitimately inflate the value of its contracts while also fraudulently

expanding the amount of the contract that could be claimed for MBE, wBE, and DBE

credit, and using a cheaper backfill material instead of the proper, more expensive

material that was specified and required by the contracts.

                                               Parties

        6.      Relator Angelo Milazzo worked for JKCC starting in 1987 and served in various

positions, including corporate secretary, until 201 1. Relator Milazzo was a l0% shareholder in

JKCC until 201 l. On city projects, he served as the liaison officer for compliance with MBE,

WBE, and DBE contract requirements. Relator has direct and independent knowledge of the

frauds committed by the Defendants. By virtue of his position with JKCC. Relator was

intimately aware of the schemes and frauds engaged in by JKCC. Relator left JKCC in October

2015.

        7.     Defendant JKCC is a privately held company located at 40 Noll Drive in

Waukegan, Illinois. It was established in 1982 and is incorporated under the laws of the state    of
Illinois. Joel Kennedy of Libertyville, Illinois is the president of JKCC.

        8.     Defendant Martinez Underground, Inc. ("Martinez Underground") is a privately

held company located at   l2 Galleon Court in Third Lake, Illinois. It was established in 2000 and is

incorporated under the laws of the State of Illinois. Adolfo C. Martinez of Grayslake, Illinois is the

President of Martinez Underground.
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          9.       Defendant Barrera Construction, Inc. ("Barrera Construction") is a privately held

company located at238 Red Oak Court in West Chicago, Illinois. It was established in 1983 and is

incorporated under the laws of the State of Illinois. Jose L. Barrera of West Chicago, Illinois is the

President of Barrera Construction.

          10.      Defendant ILA   &   Sons Construction Company     ("JLA & Sons") is a privately held

company located at36760 North Boulevard View Avenue in Waukegan, Illinois. It was

established in 2005 and is incorporated under the laws of the State of lllinois. Jose L. Arreola     of
Waukegan, Illinois is the President of JLA      &   Sons.

          I   l.   Defendant E. King Construction Co., Inc. ("E. King") is a privately held company

located in Chicago, Illinois. It was established in 1999 and is incorporated under the laws of the

State   of Illinois. Elaine King, a resident of Chicago, Illinois, is the President of E. King.

          12,      Defendant Orient Express Service Company, Inc. ("Orient Express") is a privately

held company located in Wauconda, Illinois. It was established in 1986 and is incorporated under

the laws of the State of Illinois. Takyung Lee, a resident of Wauconda, Illinois, is the president       of
Orient Express.

          13.      Defendant Midwest REM Enterprises, Inc. ("Midwest REM") is a privately held

company located in Melrose Park, Illinois. It was established in 1992 and is incorporated under the

laws of the State of lllinois. Albert Ramirez, a resident of Winfield, lllinois, is the president   of
Midwest REM.

         14.       Defendant Chicagoland Truckin Inc. ("Chicagoland Truckin") is a privately held

company located in Chicago, Illinois. It was established in2002and is incorporated under the laws
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of the state of Illinois. Alberto Roman, a resident of Oak Park, Illinois, is the president of

Chicagoland Truckin.

        15.      Defendant Menini Cartage, Inc. ("Menini Cartage") is a privately held company

located in Schaumburg, Illinois. It was established     in   1966 and is incorporated under the laws   of
the State of Illinois. Linda Menini, a resident of Mount Prospect, Illinois, is the president     of
MeniniCartage.

                                       Jurisdiction and Venue

        16.     The Court has jurisdiction of this action pursuant to 28 U.S.C.
                                                                                $S 133 l, 1367 and

3l U.S'C. $ 3730.   The state and municipal law claims are transactionally related to the federal

claims Relator brings on behalf of the government. The allegations and transactions upon which

this action is based have not been publicly disclosed. Relator also has direct and independent

knowledge of the information on which the allegations are based and voluntarily provided this

information to the government before filing these claims.

        17.     Venue is proper pursuant to   3l   U.S.C . S 3732.   All   Defendants transact business in

this judicial district and the claims are based on events that occurred in this judicial district.

Moreover, most if not all of the Defendants reside and/or maintain their principal place of business

here.


                                       Overview of Contracts

        18.     There are at least six contracts with the City of Chicago at issue in this lawsuit:

        a.   JKCC Project/Job No. I l4l, Contract (PO) Number 19367, Specification Number

             68904 is a contract between JKCC and the City of Chicago Department of Water

             Management entitled "Private Drain Repair       -   North Area/DWM Project 6220A," with
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          a contract term starting March 3,2009, and ending March       3,201l, with   a one year

          extension. (Exhibit l). The dollar amount of the contract is $6,261,900, and the final

          amount paid on the contract was approximately $8,020,879. JKCC certified in the

          contract that24o/o of the total work on the contract would be performed by MBEs and

          that 4Yo of the total work on the contract would be performed by wBEs. (Ex. I at p. 69).

          As detailed below, JKCC was well aware that these certifications were false and that it

          did not comply and had no intent of complying with these and other requirements under

          the contract.

     b.   JKCC Project/Job No. I 154, Contract (Po) Number 26407, Specification Number

          104069 is a contract between JKCC and the City of Chicago Department of Water

          Management entitled "North District water construction," with a contract term

          starting May 10, 2012, and ending February 3,2013. (Exhibit 2). The dollar amount         of
          the contract is $46,446,350, and the final amount paid on the contract was

          approximately $26,722,406.     with   regard to MBE and   wBE participation, JKCC

          certified in the contractthat24o/o of the total work on the contract would be performed

          by MBEs and that 4% would be performed by wBEs . (Ex.2 at p.77). As detailed

          below, JKCC was well aware that these certifications were false and that it did not

          comply and had no intent of complying with these and other requirements under the

          contract.

          JKCC Project/Job No. I 157, contract (Po) Number 27739, Specification Number

          I   12l0l   is a contract between JKCC and the City of Chicago Department of Water

          Management entitled o'Water Main Construction     -   District One," with a contract term
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          starting January 28,2013, and ending January 27,2016. (Exhibit 3). The dollar amount

          of the contract is $86,875,550. (Exhibit 3), and the final amount paid on the contract

          was approximately $102,199,408. With regard to MBE and WBE participation, JKCC

          again certified in the contract that24oh of the total work on the contract would be

          performed by MBEs and that      4o/o   of the total work on the contract would be performed

          by wBEs. (Ex. 3 at   p.7l).   As detailed below, JKCC was well aware that these

          certifications were false and that it did not comply and had no intent of complying with

          these and other requirements under the contract.

     d.   JKCC Project/Job No. I158, contract (po) Number 2773g, Specification Number

          ll2l02   is a contract between JKCC and the City of Chicago Department of Water

          Management entitled "Water Main Construction
                                                                -   District Two," with a contract term

          starting January 28,2013, and ending January 27,2016. (Exhibit 4). The dollar amount

          of the contract is $85,140,550. (Exhibit 4), andthe final amount paid on the contract

          was approximately $98,348,051.         with   regard to MBE and   wBE participation, JKCC

          once again certified in the contract that 24oh of the total work on the contract would be

          performed by MBEs and that     4%o     of the total work on the contract would be performed

          by wBEs. (Ex. 4 atp.7l). As detailed below, JKCC was well aware that these

          certifications were false and that it did not comply and had no intent of complying with

          these and other requirements under the contract.

     e.   JKCC Project/Job No. 1159, contract (po) Number 28325, Specification Number

          115457 is a contract between JKCC and the City of Chicago Department of Water

          Management entitled ooDamen Avenue Sewer Improvement                  N. Damen Ave & w.
                                                                            -
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            Albion Ave.," with an award date of July 24,2013 (the contract states that "Term of

            Contract is not applicable"). (Exhibit 5). The dollar amount of the contract is

            $4,102,981, and the final amount paid on the contract was approximately $4,068,531.

            With regard to MBE and WBE participation, JKCC certified in the contract that 24o/o of

            the total work on the contract would be performed by MBEs and that 4oh      of the total

            work on the contract would be performed by WBEs. (Ex. 5 at p. 70). As detailed below,

            JKCC was well aware that these certifications were false and that it did not comply and

            had no intent of complying with these and other requirements under the contract.

       f.   Contract (PO) Number 43252, Specification Number 127995 is a contract between

            JKCC and the City of Chicago Department of Water Management entitled 'oAugusta

            Boulevard Sewer Improvement" with an award date of October 19, 2016 (thecontract

            states that "Term of Contract is not applicable"). The dollar amount of the contract is

            S2,138,780. (Exhibit 6). With regard to MBE and WBE participation, JKCC certified

            in the contract that approximately 24.04oh of the total work on the contract would be

            performed by MBEs and that approximately 4.02%o of the total work on the contract

            would be performed by WBEs. (Ex.6 atp.76). Upon information and belief, JKCC

            was well aware that these certifications were false and that it did not comply and had no

            intent of complying with these and other requirements under the contract.

       19.     There is at least one contract with the Illinois Department of Transportation

("IDOT") at issue in this lawsuit. JKCC Project/Job No. I I 52, Contract Number 60F90, Job

C-91-287-09, entitled "Storm Sewer Installation atl-l90ll-294 (Tri-State Tollway) From the

Canadian National Railroad to the Des Plaines River in Chicago and Rosemont" (Exhibit 7).
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JKCC's DBE Utilization plan for the contract was approved on December 16, 201 l, shortly before

the contract was awarded. This contract has a term of March 2012 untilOctober 2013. The
                                                                                        contract

was scheduled for "Final Inspection" to take place on October 25,2013.The,,Contractors

Payment Information" for the contract indicates that final payment on the contract was
                                                                                       made on

April 28, 2014. The original contract awarded amount was $9,397,519, with a final adjusted value

of $9,716,806.23.1n obtaining approval of the DBE Utilization Plan and securing the contract,

JKCC certified that it would have 23Yo DBE participation rate on the contract. As detailed below,

JKCC made that certification to attain this contract knowing it was false and that JKCC had no

intent of complying with the DBE plan and other requirements under the contract. Nor did
                                                                                         JKCC

comply.

                           JKCC's Residencv      Req   uirement tr'raud

       20.     All of JKCC's   contracts with the City of Chicago mandat e that 50Yo of all labor

pursuant to the contract be performed by Chicago residents. However, the vast majority
                                                                                       of the

employees who worked on the contracts at issue were not chicago residents.

       21.     JKCC avoided this residency requirement in two ways: I by having employees use
                                                                     )

fake addresses; and 2) by omitting non-Chicago resident employees from paperwork it submitted

to Chicago.

       22.    JKCC instructed its employees to acquire fake Chicago addresses that could be

included on paperwork submitted to the City. Joel Kennedy, the President of JKCC, and the

workers who lived in or around Waukegan, Illinois, would typically gather every weekday

morning around 5:30 am at JKCC's office in Waukegan to prepare for the day's work and gather

materials before riding in company vehicles from Waukegan to the relevant job site in Chicago.
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        23.     JKCC's actual payroll for a given contract can be compared to the certified payroll

that was submitted to the City, which has fewer employees as it removes many of the employees

listed on the actual payroll who had not obtained fraudulent Chicago addresses.

        24.     The payroll records for Job I 157 for the week ending 715ll5 provide a snapshot      of
how the payroll used to perpetrate the residency fraud is assembled and submitted. Ms. Robin

Jasper is the JKCC employee and Board Member who would typically gather the payroll
                                                                                    each

week and tender it to the payroll company, "Paychex." Each worker's time is coded to a specific

job number, in this case either 1 157 or I 158. Ms. Leonor Bond was tasked with creating
                                                                                         an

in-house certified payroll in which she input the data and saved it to the JKCC hard drive. At
                                                                                               this

phase, the actual time submitted for payroll does not match the certified payroll to
                                                                                     be submitted to

the City. JKCC Project Engineer Michael Patti, who was responsible for keeping track of the

residency requirement, directed Ms. Bond to omit certain employees who were not Chicago

residents, in order to increase the percentage of Chicago residents on the payroll. Mr. patti then

took the in-house certified payroll from Ms. Bond and reported this to the city.

       25.     Additionally, the company used non-resident employees who had not obtained

phony Chicago addresses. JKCC perpetrated this fraud by submiuing certified payrolls to the City

that purposefully omitted those workers lacking sham Chicago addresses who otherwise were

included on JKCC's actual payroll. The City requires that payrolls be "collected along with other

information and either submitted to the City or, for newer contracts, input into LCpTracker.,,

Failure to follow these requirements subjects the offender to penalties, including that:

       "[]n such a case of non-compliance, ll20 of I percent (.05%),0.0005, of
       the approved contract value for this contract shall be surrendered by the
       contractor to the city in payment for each percentage of shortfall toward the
       stipulated residency requirement.



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       Failure to report the residency of employees entirely and correctly shall
       result in the surrender of the entire liquidated damages as if no eligible
       residents were employed in either of the categories. The willful falsification
       of statements and the certification of payroll date may subject the contractor
       or subcontractors or employee to prosecution." Id. at p. 9.

       26.     Certified payrolls that JKCC submitted IDOT in conjunction with the IDOT project

60F90 reveal the actual addresses of a number of employees who used fake Chicago addresses on

certified payrolls submitted for the Chicago contracts (all subcontractor payrolls were submitted to

JKCC, and, in turn, JKCC submitted payrolls to IDOT).

       27.     Examples of this fraud include:

       PayrollNos. 2 and 5 that were submitted to IDOT show the real address for JKCC

       employee Jose Lopez (in Bourbonnais, Illinois), while Payroll No. 42 indicates a sham

       address used for Chicago projects. These IDOT payrolls also reveal the actual addresses   of
       JKCC employees Avery Jackson, Hugo Lozano, and Jorge Ayala, which of course do not

       match the phony Chicago addresses submitted for the Chicago contracts.

       Joel Kennedy's sisters, Sherry Kennedy (a union laborer) and Kristie Kennedy (a union

       operator), appeared on certified payroll documents with fake Chicago addresses even

       though Joel Kennedy and Ms. Robin Jasper (the JKCC employee and board member

       mentioned further below who was responsible for submitting payroll to the payroll

       company, "Paychex") knew the sisters personally and knew that they did not reside in

       Chicago. Certified payroll documents mistakenly listed Sherry Kennedy's true address in

       Harvard, Illinois, but subsequent payrolls for JKCC Project Numbers I 157 and I 158 were

       altered so that they listed Sherry Kennedy as residing at a phony Chicago address. Direct

       deposit documentation also confirms that Sherry Kennedy's true address was in Harvard,




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         Illinois. Kristie Kennedy's true address is in Salem, Wisconsin, but she is listed as residing

        at a fake Chicago address.

        JKCC's payroll shows that two non-resident employees were claiming to live at the

        Chicago residence of JKCC Board Member, VP, and General Counsel, paul Lubanski.

        Payroll records dated from April2012 to November 2012 for the "Lake County public

        Works Heron's Landing" project performed by JKCC, which is unrelated to the contracts

        at issue in this case, indicate the actual addresses for many of the same non-resident JKCC

        employees who were claiming to be Chicago residents for purposes of the contracts with

        the City.

        JKCC claimed that Encente "Joe" Lozano and his son Hugo were Chicago residents, even

        though both lived in Waukegan. Indeed, Joe Lozano was a personal friend of Joel Kennedy

        and worked for JKCC from 1990 until 2015, and Kennedy knew the Lozanos were not

        Chicago residents.

                                  JKCC's MBE. WBE. and DBB Fraud

        28.       For its IDOT and City of Chicago contracts, JKCC improperly utilized companies

that had been certified as MBEs, WBEs, and DBEs to serve asoopass through" companies

(hereinafter,   'opass   throughs") for work that was not ultimately performed by these MBEs, WBEs,

and DBEs. For their involvement in this scam, JKCC would pay the pass throughs a three percent

markup of charges the pass throughs incurred, such as paying Martinez Underground a three

percent markup for concrete purchases for JKCC Project Number I 14l while claiming credit
                                                                                          for

Martinez performing concrete-related work that it did not in fact perform.




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          29.    As stated above, JKCC certified in its contracts with Chicago that there would be

24% MBE participation and 4%o WBE participation in all of its contracts when these MBEs and

WBEs did not in fact perform that amount of work under the contracts. The MBEs and WBEs that

were to perform work under JKCC's contracts with Chicago had been cerlified as MBEs and/or

WBEs under Chicago's Department of Procurement Services Certification and Compliance

Division. MBEs have at least    5l   percent ownership by a minority or have 5 l% of their business

controlled by one or more minority groups, while WBEs have at least 5 I %o ownership by      a   woman

or have   5I%   of their business controlled by one or more women.

          30.    In the Chicago contracts at issue in this lawsuit, JKCC and the MBEs and WBEs

claimed that $67,619,456 would be allocated to work performed by MBEs and WBEs. Thus,

approximately $70 million should have gone to legitimate MBE and WBE companies in the

Chicago area, but Defendants thwarted this, resulting in not only a major loss of business to the

legitimate MBE and WBE community but also a significant blow to the ability of these companies

to develop and thrive, which is the primary intent of all MBE and wBE programs.

          31.    As stated above, JKCC also certified in its contract with IDOT that there would be

23% DBE participation when these DBEs did not in fact perform that amount of work under the

contracts. The MBEs and WBEs that were to perform work under JKCC's contracts with IDOT

had been certified as DBEs under IDOT pursuant to       eligibility standards of the U.S. Department of

Transportation under 49 CFR Part26 and23 and the processes established by the lllinois Unified

Certification Program. DBEs have at least 5l percent ownership by a socially or economically

disadvantaged individual or individuals.

       32.       In the IDOT contract at issue in this lawsuit, JKCC and the DBEs claimed that

$2,182,481.84 of those contracts would be allocated to DBEs for work performed under the

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contracts. Thus, over $2 million should have gone to legitimate DBE companies in the Chicago

area, but Defendants thwarted this, resulting in not only a major loss   of business to the legitimate

DBE community but also a significant blow to the ability of these companies to develop and

thrive, which is the primary intent of all DBE programs.

        33.    The IDOT contract was funded at least in part by the U.S. Department       of
Transportation. Accordingly, each contract was subject to the DOT rules set out in 49 CFR 26
                                                                                         $

regarding DBE usage. These rules were incorporated into JKCC's bids and the final contracts it

received.

        34.    Several MBEs, WBEs, and DBEs, including Martinez Underground, Barrera

Construction, and numerous trucking companies such as Defendants E. King, Orient Express, and

Midwest REM, Chicagoland Truckin, and Menini Cartage participated in this fraud.

       35.     For instance, rather than performing work on a price per unit basis, as indicated in

JKCC's bids submitted to Chicago and IDOT for Martinez Underground and Barrera

Construction,Marlinez Underground and Barrera Construction actually completed work on a

Time and Materials basis and invoiced 100% of the concrete charges, and concrete and water main

charges in the case of Martinez Underground, to JKCC while collecting a three percent service

charge. For the IDOT contract, Martinez Underground charged a substantial amount, as reflected

in invoices submitted to JKCC by subcontractors and suppliers but actually paid for by Martinez

Underground.

       36.     Martinez Underground and Barrera Construction were involved in various

schemes, to give the false impression that these MBEs were performing the amount        of labor

required under the contracts. One of these schemes entailed JKCC placing orders for materials

through the MBEs, WBEs, and DBEs for work that was actually being done by JKCC rather than

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the MBEs, WBEs, and DBEs. For instance, the MBEs, WBEs, and DBEs would pay for concrete

that was used by JKCC. By operating this way, JKCC could evade the MBE/WBE/DBE work

requirements by claiming that the MBEs, WBEs, and DBEs performed a substantial amount                of
work that they did not in fact perform.

          37.    JLA & Sons also functioned   as a pass through, to mask the fact that JKCC was

doing work which should have been performed by MBEs per the contractual requirements and

certifications, as JLA & Sons was billed for approximately $l million in materials that were then

used by JKCC. Indeed, $1,559,272.40 was submitted as            JLA and Sons,totaldollar amount for

purposes of MBE credit on the JKCC Project Number           1   154, even though JLA   &   Sons only spent

$677,266.00 on this contract. In a letter dated January 13,2014. JKCC employee Paul Delassus

writes to JLA   &   Sons President Jose Arreola to inform him that overages on JKCC project No.

1   154 that were fraudulently charged through JLA    &   Sons would carry over to subsequent projects.

         38.     Demonstrating that JKCC was actually performing work that should have been

performed by the MBEs, WBEs, and DBEs under the contracts, JKCC would often negotiate

directly with suppliers but then direct the MBEs, WBEs, and DBEs to pay the bills for materials

that were delivered to JKCC rather than the MBEs, WBEs, and DBEs.

         39.    JKCC used its own employees and fraudulently claimed that they worked for the

MBEs, WBEs, and DBEs, by shifting around employees so that JKCC employees would appear on

the payroll for the MBEs, WBEs, and DBEs. This was done so that JKCC could continue

controlling and directing work that the DBEs would have been unqualified to perform while

allowing JKCC to claim MBE, WBE, and DBE credit for the labor on those projects. The majority

of the purported MBE/WBE/DBE employees are moved back to JKCC's payroll once the project

(in this case, the IDOT project) is completed. Additionally, an in-house ledger spreadsheet

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prepared by Robin Jasper for the IDOT project shows that there are only three legitimate Martinez

Underground employees, while the rest were JKCC employees put on Martinez Underground's

payroll, and another in-house ledger spreadsheet prepared by Ms. Jasper for the IDOT project

demonstrates how JKCC allowed Martinez Underground to mark up its own employees l5% while

only marking up JKCC employees (who are now on Martinez Underground's payroll) by 5%.

        40-    Former JKCC superintendent Bernie Prisby, who was in charge of the IDOT

project, maintained a daily diary in which he kept track of which payroll certain JKCC

employees should be placed on by writing   "J" for "JKCC" or o'M" for "Martinez

Underground" next to an employee's name to indicate the payroll on which that employee

should be included. Because the personnel assignments changed on a daily basis, Mr. prisby

stopped attempting to keep track of these assignments and would simply communicate the

workers' time to Robin Jasper via telephone. Ms. Jasper would then segregate the Martinez

Underground payroll and then fax it over to the Martinez Underground office so that Martinez

Underground would write checks for the proper amounts and maintain records of certified

payroll to submit to IDOT to perpetrate the fraud. Ms. Jasper engaged in the equivalent

procedure by emailing timesheets to Miriam Baker, daughter of President Jose L. Barrera,   as

Ms. Baker runs the day-to-day business for Barrera Construction. These examples illustrate

that Martinez Underground and Barrera Construction supplied minimal workers on these

projects and were used as pass through companies for materials.

                Unauthorized Work Performed Bv Truckins Companies

       41.    An additional fraud entailed MBEs, WBEs, and DBEs that were only certified to

perform hauling engaging in other work that they were not authorized to do.




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        42.    Trucking company Defendants E. King, orient Express, Midwest REM,

Chicagoland Truckin, and Menini Cartage were certified to perform limited tasks, and they were

not authorized suppliers or distributors. Working with these MBEs, WBEs, and DBEs, JKCC

charged fees for dumping and materials relating to services the MBEs, WBEs, and DBEs were not

allowed to perform, to expand the percentage of the contract for which JKCC could claim credit

for MBE, WBE, and DBE subcontractor labor and increasing the price of the overall contracts on

which the MBE, WBE, and DBE credits were claimed. By engaging in this behavior, Defendants

flouted the requirements set forth in the December 3,2012, "Clarification No.        l"   for Water Main

construction Bids as Paragraphs 32 and 33 of the clarification state,

               32. If the prime contractor is trying to get MBE/WBE credit for any type of
               materials that are being provided to the job site, the MBE/WBE firm must
               be certified as a supplier of [sic] distributor of goods. A prime contractor
               will only receive MBE/WBE credit for work that is actually performed by
               the MBE or WBE firm with its' [sic] own forces and materials. To the
               extent that an MBE/WBE firm, choses [sic] to subcontract performance of
               the work to a non-certified vendor, credit will not be granted for the work
               performed by the non-certified firm...

               33. Prime contractors that use MBE/WBE firms that are certified as
               suppliers or distributors will receive 60 credits toward the contract
               goal. If a trucking firm is certified as a supplier or distributor as well
               as a trucking company (hauling) and the MBE/WBE firm is using its
               own trucks to deliver the materials, 100% credit will be granted
               towards the contract goal.

       43.     One of the tasks that JKCC would        bill through the Defendant trucking companies

was purchasing backfill material even though these trucking companies were not authorized to

purchase this backfi   ll material.

                                      Backfill Material Fraud

       44.     JKCC knowingly used a cheaper backfill material when the contracts specified a

more expensive backfill material.

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        45.         The contracts required that a washed CA- I 6 backfill material, which has a higher

price due to greater hauling costs, be used. In order to avoid these costs, JKCC used an unwashed

CA-16 material but attempted to pass it off as a washed material unbeknownst to the City and in

blatant disregard for the contractual requirements.

        46.         The specifications contained in Book 3 to the contracts for JKCC Project/Job No.

I154, Contract (PO) Number 26407, Specification Number I04O69,JKCC Project/Job No. I157,

Contract (PO) Number 27739, Specification Number            ll21}l,   and JKCC Pro.iect/Job No. I158,

Contract (PO) Number 27738, Specification Number            ll2l02 clearly state that washed CA-16
must be used, but JKCC still insisted on using the substantially cheaper unwashed CA- l6:

            2.3 BACKFILL MATERIAL

            A. Backfill Material for Water Main Construction l. Coarse aggregate
            (CA) material classified as crushed gravel, crushed stone, crushed
            limestone, or mechanically crushed concrete conforming to IDOT
            gradation CA- l6 unless authorized otherwise. Material must be washed,
            angular, have uniform properties, and noncorrosive.

                             Lack Of Knowledse Of Government Officials

        47.         No official of the United States Government, State of Illinois, Illinois Department

of Transportation, or City of Chicago charged with responsibility to act on the frauds alleged

herein knew or reasonably should have known of the frauds or the related false statements prior to

the filing of this complaint.

               Count I    - False Claims   Act,31 U.S.C. gg 3729(a)(l)(A) and (a)(l)(B)

        48.         Relator incorporates each paragraph of this Complaint as if fully set forth herein.

        49.         As described above, Defendants knowingly presented, or caused to be presented, to

an officer or employee of the United States, false or fraudulent claims for payment or approval, in

violation of   3l   U.S.C. g 3729(aXlXA).

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        50.     As described above, Defendants knowingly made, used, or caused to be made or

used, false records or statements material to a false or fraudulent claim for payment or approval by

the United States Government, in violation of         3l    U.S.C. g 3729(a)(l)(B).

        51.     As a result of these claims, the United States Government paid Defendants and

suffered damages to be determined at trial.

                     Count II     -    Fatse Claims   Act,3l    U.S.C. g 3729(a)(t)(C)

        52.     Relator incorporates each paragraph of this Complaint as if fully set forth herein.

       53.      Defendants conspired to defraud the United States Government by getting false or

fraudulent claims allowed or paid, and/or conspired to commit a violation of          3l   U.S.C.   $

3729(a)(l)(A) or (B), in violation of 3l U.S.C. g 3729(aXtXC).

        54.     As a result of their acts or omissions, Defendants caused the United States to

sustain damages in an amount to be determined at trial.

                    Count      III -   Fatse Ctaims   Act,3I    U.S.C. g 3729(a)(l)(G)

       55.      Relator incorporates each paragraph of this Complaint as if fully set forth herein.

       56.      Defendants knowingly made, used, or caused to be made or used, a false record or

statement material to an obligation to pay or transmit money or property to the United States

Government, or knowingly concealed or knowingly and improperly avoided or decreased an

obligation to pay or transmit money or property to the United States Government, in violation of

3l u.s.C.   g 372e(a)(1)(G).


       57.      As a result of their acts or omissions, Defendants caused the United States to

sustain damages in an amount to be determined at trial.

        count IV    - Illinois tr'alse claims    Act,740ILCS 175/3(a)(r)(A) and (aXtXB)

       58.      Relator incorporates each paragraph of this Complaint as if fully set forth herein.

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         59.     As described above, Defendants knowingly presented, or caused to be presented, to

an   official or employee of the State of Illinois, false or fraudulent claims for payment or approval,

in violation of 740 ILCS I 75l3(a)( 1)(A).

         60.    As described above, Defendants knowingly made, used, or caused to be made or

used, false records or statements material to a false or fraudulent claim for payment or approval

by the State of Illinois, in violation of 740 ILCS 175/3(a)(1)(B).

         61.    As a result of these claims, the State of Illinois paid Defendants and suffered

damages to be determined at trial.

                  Count V    - illinois   Fatse Ctaims Act, 740 ILCS 175/3(a)(l)(C)

         62.     Relator incorporates each paragraph of this Complaint as if fully set forth herein.

         63.     Defendants conspired to defraud the State of Illinois by getting false or fraudulent

claims allowed or paid, and/or conspired to commit a violation of 740lLCS 175l3(a)(l)(A) or

(B), in violation of 740 ILCS 175l3(a)(l)(C).

         64.     As a result of their acts or omissions, Defendants caused the State of Illinois to

sustain damages in an amount to be determined at trial.

                  Count VI   - Illinois   False Claims Act,740ILCS 175/3(a)(l)(G)

         65.    Relator incorporates each paragraph of this Complaint as if fully set forth herein.

         66.    Defendants knowingly made, used, or caused to be made or used, a false record or

statement materialto an obligation to pay or transmit money or property to the State of lllinois, or

knowingly concealed or knowingly and improperly avoided or decreased an obligation to pay or

transmit money or property to the State of Illinois, in violation of 740ILCS 175l3(aXlXG).




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          67   .           As a result of their acts or omissions, Defendants caused the State of lllinois to

sustain damages in an amount to be determined                attrial.

Count VII          -   Chicago False Claims Act, Municipal Code of Chicago Chapter 1-22-020(l) and
                                                  r-22-020(2)

          68.              Relator incorporates each paragraph of this Complaint as if fully set forth herein.

          69.              As described above, Defendants knowingly presented, or caused to be presented, to

an    official or employee of the City of Chicago, false or fraudulent claims for payment or approval,

in violation of Municipal Code of Chicago Chapter t-22-0ZO(l).

          70.              As described above, Defendants knowingly made, used, or caused to be made or

used, false records or statements materialto a false or fraudulent claim for payment or approval by

the   city of Chicago, in violation of Municipal code of Chicago chapter 1-22-ozo(2).

          71.              As a result of these claims, the City of Chicago paid Defendants and suffered

damages to be determined at trial.

 Count VIII            -   Chicago False Claims Act, Municipal Code of Chicago Chapter l-ZZ-020(3)

          72.              Relator incorporates each paragraph of this Complaint as if fully set forth herein.

          73.              Defendants conspired to defraud the City of Chicago by getting false or fraudulent

claims allowed or paid, and/or conspired to commit a violation of Municipal Code of Chicago

Chapter l-22-020(l) or l-22-020(2),in violation of Municipal Code of Chicago Chapter

t-22-020(3).

          74.          As a result of their acts or omissions, Defendants caused the City of Chicago to

sustain damages in an amount to be determined at trial.

  Count IX         -   Chicago False Claims Act, Municipal Code of Chicago Chapter l-22-020(7)

          75.          Relator incorporates each paragraph of this Complaint as if fully set forth herein.


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           76.     Defendants knowingly made, used, or caused to be made or used, a false record or

 statement to conceal, avoid or decrease an obligation to pay or transmit money or property to the

 city of chicago, in violation of Municipal code of chicago chapter r-22-o2o(7).

           77.     As a result of their acts or omissions, Defendants caused the City of Chicago to

 sustain damages in an amount to be determined at        fiial.

                                            Jrrrv Trial Demanded

           The United States of America, the State of Illinois, the State of Illinois Department   of
 Transportation, and the City of Chicago, on the relation of Angelo Milazzo, hereby demands

 tial   by jury on all issues so triable.

          WIIEREFORE, Relator Angelo Milazzo respectfully requests that the Court enter

 judgment in his favor and in favor of the United States of America, the State of lllinois, the State

 of Illinois Department of Transportation, and the City of Chicago against Defendants, awarding

 teble damages, penalties, and all appropriate relief for violations of the federal False Claims Act,

 the Illinois False Claims Act, and the Chicago False Claims Act, and awarding Relator Angelo

 Milazzo thirty percent of the govenrment's recovery as well as costs and attomey fees.


                                                                   Respectfully submitted,


                                                                   ?--dd
                                                                   Frank Newell
                                                                   Mike Kanovitz
                                                                   Scott Rauscher
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                                                    7)
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                        IN THE UNITED STATES DISTRICT COURT
              FOR TI{E NORTHERN DISTRICT OF ILLINOIS, EASTERN DryISION

UNITED STATES OF AMERICA, STATE OF                )
ILLINOIS, STATE OF         ILLINOIS               )
DEPARTMENT OF TRANSPORTATION,                     )
and CITY OF CHICAGO ex rel.                       )
                                                  )
ANGELO MTLAZZO,                                   )   Filed Under Seal and In Camera
                                                  )
      Plaintiff-Relator,

         v.                                           Jury Trial Demanded

JOEL KENNEDY CONSTRUCTING
CORPORATION, MARTINEZ                                 Hon. Judge Ruben Castillo
UNDERGROUND, INC., BARRERA
CONSTRUCTION, INC., JLA & SONS
CONSTRUCTION COMPANY, E. K[NG                         Case   No. 17-cv-3062
CONSTRUCTION CO., INC., ORIENT
EXPRESS SERVICE COMPANY, INC.,
MIDWEST REM ENTERPRISES, INC.,
CHICAGOLAND TRUCKIN INC., and
MENINI CARTAGE, fI{C.,


      Defendants.

                                       NOTICE OF F'ILING

       To:       See attached Service List.

       Please take notice that I have this 23rd day of June 2017 caused to be filed under seal

and in camera   Plaintiffs CORRECTED COMPLAINT,              a copy of   which is herewith served

upon you. This Corrected Complaint only adds Relator's Counsel's signature and e-mail address,

which were initially omitted inadvertently.

                                                              Dated hne23,2017

                                                               {-;=?
                                                              Frank Newell
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                                       CERTIFICATE OF SERVICE

        I, Frank Newell, do hereby certii/ that a copy of Relator's CORRECTED COMPLAINT
will be sent and served upon the counsel listed in the attached Service List by electonic mail on
the23rd day of June,2017.




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